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       H.     HE HAS SIGNED THIS AGREEMENT KNOWINGLY, VOLUNTARILY
              AND WITHOUT UNDUE COMPULSION OR DURESS.


 DATED: _____________, 2019               __________________________________
                                          JONATHAN VARGAS




 Sworn and subscribed to
 before me on this ___
 day of __________ 2019.




 DATED: _____________, 2019         _________________________________________
                                    ON BEHALF OF
                                    SUN MERRY     USA INC. D/B/A SUNMERRY
                                    BAKERY AND CAFÉ.



 DATED: _____________, 2019         _________________________________________
                                    PEI-HSUAN KAO




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